           Case 1:20-vv-00498-UNJ Document 46 Filed 06/24/22 Page 1 of 3




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0498V
                                        (not to be published)


    RUBY WILLIAMS,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: May 13, 2022


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Glen Howard Sturtevant, Jr., Rawls Law Group, Richmond, VA, for Petitioner.

Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On April 24, 2020, Ruby Williams filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she received an influenza vaccine in her right
deltoid on October 3, 2018, and thereafter suffered from a right-sided shoulder injury
related to vaccine administration. Petition at 1 (Preamble). On March 23, 2022, a decision
was issued awarding compensation to Petitioner based on the Respondent’s proffer.
(ECF No. 41).

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:20-vv-00498-UNJ Document 46 Filed 06/24/22 Page 2 of 3




       Petitioner has now filed a motion for attorney’s fees and costs, dated March 30,
2022, (ECF No. 39), requesting a total award of $22,903.49 (representing $20,548.26 in
fees and $2,355.23 in costs). In addition, in accordance with General Order No. 9
Petitioner filed a signed statement indicating that she incurred no out-of-pocket expenses.
(ECF No. 39-3). Respondent reacted to the motion on March 30, 2022, representing that
he is satisfied that the statutory requirements for an award of attorney’s fees and costs
are met in this case, but deferring resolution of the amount to be awarded at the Court’s
discretion. (ECF No. 40). Petitioner did not file a reply thereafter.

       I have reviewed the billing records submitted with Petitioner’s requests and find a
reduction in the amount of fees to be awarded appropriate, for the reason listed below.

                                       ANALYSIS

        The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Counsel must submit fee requests that include contemporaneous and specific
billing records indicating the service performed, the number of hours expended on the
service, and the name of the person performing the service. See Savin v. Sec’y of Health
& Hum. Servs., 85 Fed. Cl. 313, 316-18 (2008). Counsel should not include in their fee
requests hours that are “excessive, redundant, or otherwise unnecessary.” Saxton v.
Sec’y of Health & Hum. Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)). It is “well within the special master’s discretion to
reduce the hours to a number that, in [her] experience and judgment, [is] reasonable for
the work done.” Id. at 1522. Furthermore, the special master may reduce a fee request
sua sponte, apart from objections raised by respondent and without providing a petitioner
notice and opportunity to respond. See Sabella v. Sec’y of Health & Hum. Servs., 86 Fed.
Cl. 201, 209 (2009). A special master need not engage in a line-by-line analysis of
petitioner’s fee application when reducing fees. Broekelschen v. Sec’y of Health & Hum.
Servs., 102 Fed. Cl. 719, 729 (2011).

       The petitioner “bears the burden of establishing the hours expended, the rates
charged, and the expenses incurred.” Wasson v. Sec’y of Health & Hum. Servs., 24 Cl.
Ct. 482, 484 (1991). The Petitioner “should present adequate proof [of the attorney’s fees
and costs sought] at the time of the submission.” Wasson, 24 Cl. Ct. at 484 n.1.
Petitioner’s counsel “should make a good faith effort to exclude from a fee request hours
that are excessive, redundant, or otherwise unnecessary, just as a lawyer in private
practice ethically is obligated to exclude such hours from his fee submission.” Hensley,
461 U.S. at 434.
                                            2
             Case 1:20-vv-00498-UNJ Document 46 Filed 06/24/22 Page 3 of 3




                                           ATTORNEY FEES

        Petitioner requests compensation for attorney Glen Sturtevant at the following
rates: $353 per hour for 2020; $372 per hour for 2021; and $392 per hour for 2022. (ECF
No. 39 at 3). The requested rates for time billed between 2010-21 are reasonable and
consistent with what has previously been awarded for work he has performed for other
petitioners, and the requested increase for 2022 work is also acceptable.

       In addition, Petitioner requests the rate of $182 per hour for time billed by paralegal
Emily Brooks. (ECF No 39-1 at 16). But this requested rate exceeds the Vaccine
Program’s published range for paralegals in 2022. 3 I shall therefore reduce the requested
rates to $177 per hour for time billed 2022. This reduces the fees to be awarded by the
amount of $25.00. 4
                                    ATTORNEY COSTS

         Petitioner requests $2,355.23 in overall costs. (ECF No. 39 at 2). This amount is
comprised of obtaining medical records, shipping costs and the Court’s filing fee. I have
reviewed all of the requested costs and find them to be reasonable and shall award them
in full.

                                              CONCLUSION

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT IN PART Petitioner’s Motion for attorney’s fees and
costs. I award a total of $23,073.35 (representing $21,339.45 in fees and $1,733.90 in
costs) as a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s
counsel. In the absence of a timely-filed motion for review (see Appendix B to the Rules
of the Court), the Clerk shall enter judgment in accordance with this decision. 5

IT IS SO ORDERED.

                                                           s/Brian H. Corcoran
                                                           Brian H. Corcoran
                                                           Chief Special Master

3
  These rates are derived from the application of the OSM Attorneys’ Forum Hourly Rate Schedules and
are available on the U.S. Court of Federal Claims website at www.cofc.uscourts.gov/node/2914.
4
    This amount is consisting of $182 - $177 = $5 x 5 hrs = $25.00.
5
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                      3
